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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
In re:                                                        :
                                                              :
MATTER OF CERTAIN CLAIMS AND                                  :
NOTICING AGENTS’ RECEIPT OF FEES IN                           :   Misc. Pro. No. 22-00401(MG)
CONNECTION WITH UNAUTHORIZED                                  :
ARRANGEMENTS WITH XCLAIM INC.                                 :
                                                              :
--------------------------------------------------------------X


  NOTICE OF PRESENTMENT OF ORDER APPROVING AGREEMENT BETWEEN
   DONLIN, RECANO & COMPANY, INC. AND THE UNITED STATES TRUSTEE


        PLEASE TAKE NOTICE that the annexed Order Approving Agreement Between

Donlin, Recano & Company, Inc. (“DRC”) and the United States Trustee (the “Order”) will be

presented for signature before the Honorable Martin Glenn, Chief United States Bankruptcy

Judge, United States Bankruptcy Court for the Southern District of New York (the “Court”) for

approval and signature on May 23, at 12:00 p.m. (Eastern).

        PLEASE TAKE FURTHER NOTICE that any objections to the entry of the Order

approving the DRC Settlement Agreement must be in writing and filed with the Bankruptcy

Court in accordance with the applicable Local Rule for the Bankruptcy Court for the Southern

District of New York, and served upon the United States Trustee (Attn: Annie Wells, Esq. and

Andrea B. Schwartz, Esq., One Bowling Green, New York, New York 10004), and counsel for

DRC (Attn: Elliot Moskowitz, Esq., Davis Polk & Wardwell LLP, 450 Lexington Avenue, New

York, New York 10017), with a copy delivered to the Chambers of the Honorable Martin Glenn

(One Bowling Green, New York, New York 10004), so as to be received no later than May 16,

at 12:00 p.m. If no objections are timely filed and served, the Order may be entered by the

Bankruptcy Court without a hearing.
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       PLEASE TAKE FURTHER NOTICE that, if a written objection is timely filed and

served with respect to the Order, a hearing will be held to consider entry of the Order and

approval of the DRC Settlement Agreement before the Court at the United States Bankruptcy

Court on a date to be announced.


Dated: May 9, 2023
       New York, New York
                                             WILLIAM K. HARRINGTON
                                             UNITED STATES TRUSTEE, REGION 2

                                             By:     /s/ Annie Wells
                                                     Annie Wells
                                                     Andrea B. Schwartz
                                                     Trial Attorneys
                                                     Office of the United States Trustee – NYO
                                                     Alexander Hamilton Custom House
                                                     One Bowling Green
                                                     New York, New York 10004
                                                     Tel: 212-510-0500

Dated: May 9, 2023
       New York New York                     DAVIS POLK & WARDWELL LLP

                                             By:     /s/ Elliot Moskowitz
                                                     Elliot Moskowitz
                                                     450 Lexington Avenue
                                                     New York, NY 10017
                                                     Tel: 212-450-4000

                                             Attorneys for Donlin, Recano & Company, Inc.




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
In re:                                                        :
                                                              :
MATTER OF CERTAIN CLAIMS AND                                  :
NOTICING AGENTS’ RECEIPT OF FEES IN                           :        Misc. Pro. No. 22-00401(MG)
CONNECTION WITH UNAUTHORIZED                                  :
ARRANGEMENTS WITH XCLAIM INC.                                 :
                                                              :
--------------------------------------------------------------X

           ORDER APPROVING AGREEMENT BETWEEN DONLIN, RECANO &
               COMPANY, INC. AND THE UNITED STATES TRUSTEE


          Upon the Notice of Presentment by William K. Harrington, United States Trustee,

Region 2 (the “U.S. Trustee”) and Donlin, Recano & Company, Inc. (“DRC”), dated May ___,

2023 [ECF No. ___], seeking the entry of an Order (the “Order”) approving the Settlement

Agreement annexed hereto, between DRC and the USTP1 (collectively, the “Parties”); and the

Court having jurisdiction over this Miscellaneous Proceeding and the DRC Settlement

Agreement pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

Reference M-431, dated January 31, 2012 (Preska, C.J.); and due and adequate notice of the

Order and DRC Settlement Agreement having been provided; and the Court having found that

the DRC Settlement Agreement is reasonable, fair and equitable and supported by adequate

consideration; and no objection having been interposed to the Court’s entry of the Order

approving the DRC Settlement Agreement; and after due deliberation and sufficient cause

appearing therefore, it is hereby

          FOUND AND DETERMINED that:

          A.       This Court has jurisdiction consider and approve the DRC Settlement Agreement.



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    Terms used herein but not defined shall have the meanings ascribed to them in the DRC Settlement Agreement.
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        B.     Any objections to the DRC Settlement Agreement that have not been withdrawn

or resolved, are overruled and/or waived.

        C.     The parties have acted in good faith and engaged in arms-length negotiations in

connection with their determination to enter into and execute the DRC Settlement Agreement.

        D.     The DRC Settlement Agreement resolves the Parties’ disputes over issues

concerning sanctions against DRC related to Xclaim and the Synchronization Agreement with

DRC without the need for further litigation and costs in the Miscellaneous Proceeding or in any

other proceeding in any other jurisdiction, without prejudice to the United States Trustee’s

position in the underlying matter, and without any admission of liability, violation, or

wrongdoing by the DRC.

        ACCORDINGLY, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

that:

        1.     Pursuant to sections 105(a), 327 and 1103 of the Bankruptcy Code, and

Bankruptcy Rule 2014, the DRC Settlement Agreement, and the terms therein, is hereby

approved.

        2.     The Parties are authorized to take any and all actions reasonably necessary or

appropriate to consummate the DRC Settlement Agreement and perform any and all obligations

contemplated thereunder.

        3.     The approval of the DRC Settlement Agreement concludes this Miscellaneous

Proceeding with prejudice as to DRC, and no other or further consequences are to be imposed by

this Court on DRC regarding any past engagement or agreement it had with Xclaim.

        4.     This Order shall be effective and enforceable immediately upon its entry.

        5.     This Court retains exclusive jurisdiction to hear and determine any dispute




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regarding the interpretation or enforcement of the DRC Settlement Agreement and all matters

arising from or related to the implementation of this Order and the Miscellaneous Proceeding.

Dated: _______________, 2023
       New York, New York

                                                    The Honorable Martin Glenn
                                                    Chief United States Bankruptcy Judge




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                                         AGREEMENT

        This Settlement Agreement (the “Settlement Agreement”) is made and entered into by
and among (i) William K. Harrington, United States Trustee for Region 2 (the “United States
Trustee”) and the Executive Office for United States Trustees (the “EOUST”), a component
within the Department of Justice, together with the United States Trustees and Acting United
States Trustees for Regions 1 through 21 (collectively, the “United States Trustee Program” or
“USTP”), and (ii) Donlin, Recano & Company, Inc. (“DRC”). The USTP and DRC are referred
to herein collectively as the “Parties,” and each a “Party.”

                                            Recitation

       WHEREAS, the Clerk of the United States Bankruptcy Court for the Southern District of
New York (“Bankruptcy Court”) has approved DRC to be retained in bankruptcy cases to act as
the Clerk’s agent for the purpose of assisting with certain administrative tasks pertaining to
providing notices to parties and processing proofs of claim;

        WHEREAS, the retention of claims agents is governed by 28 U.S.C. § 156(c), the
Bankruptcy Court’s Local Bankruptcy Rule 5075-1, and the Bankruptcy Court’s Protocol for the
Employment of Claims and Noticing Agents Under 28 U.S.C. § 156(c) for the Bankruptcy Court
for the Southern District of New York (“SDNY Protocol”);

         WHEREAS, on November 4, 2019, DRC entered into an agreement (the “Exclusive
Synchronization Agreement”) with Xclaim, Inc. (“Xclaim”), pursuant to which DRC agreed to
provide Xclaim with access to bankruptcy claims data in a certain synchronized format to
facilitate claims trading on Xclaim’s platform (and not to provide certain data by programmatic
or other electronic means to any other party that operates a claims trading platform, unless
required by law) in exchange for a commission equal to 10% of the value of every consummated
claim traded over Xclaim’s platform in those bankruptcy cases where DRC acted as a court-
appointed claims agent;

       WHEREAS, on August 18, 2022, in the chapter 11 case of In re Madison Square Boys &
Girls Club, Inc., Case No. 22-10910-SHL, the Bankruptcy Court held that another approved
claims agent’s exclusive synchronization agreement with Xclaim was inconsistent with the
agent’s obligations and duties under 28 U.S.C. § 156(c), the SDNY Protocol and the Code of
Conduct for Judicial Employees. In re Madison Square Boys & Girls Club, Inc., 642 B.R. 487
(Bankr. S.D.N.Y. 2022), appeal dismissed, Case No. 22-CV-07575-KPF (U.S. District Court for
the Southern District of New York), Dkt. No. 17;

        WHERAS, on August 25, 2022, the Bankruptcy Court commenced the miscellaneous
proceeding styled In re Matter of Claims and Noticing Agents Receipt of Fees in Connection with
Unauthorized Arrangements with Xclaim Inc., Misc. Pro. No. 22-00401-MG (the “Miscellaneous
Proceeding”), wherein the Bankruptcy Court ordered (i) those certain claims agents approved to
be retained in bankruptcy cases to act as claims and noticing agents, including DRC, to file a
notice disclosing, inter alia, (a) an accounting of any and all fees, costs, and reimbursements
received, or due to be received, from Xclaim through the filing of the notice, and (b) a list of all
bankruptcy cases in which the approved claims agent served as a court-approved claims and

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noticing agent and Xclaim facilitated at least one claims trade from which that approved claims
agent received or would receive a fee; and (ii) parties in interest, including the United States
Trustee, to file briefs outlining what sanctions, if any, should be imposed on those approved
claims agents that were a party to an agreement with Xclaim. See Misc. Proc. No. 22-00401-
MG, Dkt. Nos. 1 & 19;

      WHEREAS, on August 30, 2022, DRC terminated its Exclusive Synchronization
Agreement with Xclaim;

        WHEREAS, the USTP alleges that DRC should have disclosed its Exclusive
Synchronization Agreement with Xclaim as a relevant connection in its retention applications or
supplemental affidavits filed in those bankruptcy cases (the “Subject Bankruptcy Cases”) in
which DRC was employed as a court-approved claims and noticing agent pursuant to 28 U.S.C.
§ 156(c) and/or other estate professional pursuant to 11 U.S.C. §§ 327 or 1103 from the date on
which DRC entered into the Exclusive Synchronization Agreement, to the date on which DRC
terminated such agreement, and that such disclosure was relevant to evaluating DRC’s
disinterestedness in connection with DRC’s employment as claims agent and/or estate
professional in the Subject Bankruptcy Cases;

        WHEREAS, DRC strives to ensure compliance with disclosure rules applicable to claims
and noticing agents, but did not believe disclosure of the Exclusive Synchronization Agreement
was required by 28 U.S.C. § 156, the SDNY Protocol, or Bankruptcy Rule 2014 (collectively, the
“Rules”), and whereas DRC further maintains that it did not violate the Rules, that it is not liable
for any nondisclosure of its Exclusive Synchronization Agreement with Xclaim, and that to the
extent, if any, DRC violated any of the Rules, the violation was in good faith and without any
intent to violate any of the Rules;

        WHEREAS, the Parties wish to resolve their dispute to avoid cost and expense associated
with further litigation related to Xclaim or the Exclusive Synchronization Agreement in the
Miscellaneous Proceeding or in any other proceeding in any other jurisdiction, without prejudice
to either Party’s position in the underlying matter and without any admission of liability,
violation, or wrongdoing by DRC.

       NOW, THEREFORE, it is hereby agreed to by and among the Parties:

                                            Agreement

                               Article I – Jurisdiction and Venue

      1.      The Bankruptcy Court has jurisdiction over the Parties’ dispute and authority to
approve this Agreement.

                                 Article II – Settlement Payment

      2.     The Parties have agreed that DRC shall make one or more payments in the total
aggregate amount of $120,000 (the “Payment”), to certain debtors (the “Debtors”) selected by
DRC whose cases are still active. Within 14 days after the Bankruptcy Court enters the Order

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(defined below), DRC shall provide to the USTP and file on the docket of the Miscellaneous
Proceeding, a schedule with the identity of such Debtors, and the amounts to be allocated to each
one. The Payment shall be funded and fully disbursed to such Debtors within 90 days after the
Effective Date (defined below).

                                Article III – Release Provisions

        3.      Upon the Effective Date, the USTP hereby releases all claims against DRC related
to, in connection with, arising under, or pertaining to Xclaim or the Exclusive Synchronization
Agreement, in cases in any jurisdiction where DRC was employed as a court-approved claims
and noticing agent pursuant to 28 U.S.C. § 156(c) and/or other estate professional pursuant to 11
U.S.C. §§ 327 or 1103 and shall refrain from instituting, directing, maintaining, or participating
in any motion, objection, contested matter, adversary proceeding, or miscellaneous proceeding
against DRC in any jurisdiction, seeking disqualification, disgorgement, or other sanctions,
penalties, further disclosures, or action of, by, or against DRC based on anything relating to
Xclaim or the Exclusive Synchronization Agreement.

        4.      Upon the Effective Date, DRC hereby releases all claims against the USTP and all
of its current and former employees, including all claims under the Equal Access to Justice Act,
28 U.S.C. § 2412, based on the USTP’s participation in the Miscellaneous Proceeding, or any
claims relating to Xclaim or the Exclusive Synchronization Agreement, in cases in any
jurisdiction where DRC was employed as a court-approved claims and noticing agent pursuant to
28 U.S.C. § 156(c) and/or other estate professional pursuant to 11 U.S.C. §§ 327 or 1103.

       5.      This Agreement does not bind or prejudice any rights or claims of any non-party,
including the United States, the U.S. Department of Justice (except for the USTP), and/or other
governmental agencies; provided that DRC’s obligation to pay the Payment hereunder shall be
null and void if any governmental entity, including the Bankruptcy Court, seeks in any forum to
impose any monetary sanction or penalty in any civil proceeding on DRC in connection with
Xclaim or the Exclusive Synchronization Agreement.

                            Article IV – Miscellaneous Provisions

       6.      The Parties shall seek Bankruptcy Court approval of this Agreement, pursuant to
sections 105(a), 327 and 1103 of the Bankruptcy Code, by presentment, on notice to all
applicable parties in interest, or through such other procedures as may be permitted by the
Bankruptcy Court. The Parties hereto agree to use their reasonable best efforts to achieve
approval of this Agreement and obtain the entry of a mutually acceptable Bankruptcy Court
order approving this Agreement (the “Order”).

        7.      This Agreement shall become effective and binding on each of the Parties upon
execution by the Parties, entry of the Order approving this Agreement without material
modification, and entry of an order dismissing DRC from the Miscellaneous Proceeding with
prejudice without further consequences imposed against DRC by the Bankruptcy Court
regarding any past DRC engagement or agreement with Xclaim (the date such conditions are
satisfied, the “Effective Date”).

       8.    The Bankruptcy Court shall retain exclusive jurisdiction over all matters subject to
this Agreement and the Order, including disputes arising under this Agreement or the Order, and
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over the construction, interpretation, modification, and enforcement of the Agreement and Order,
and shall retain exclusive jurisdiction to hear any motions or proceedings related to this
Agreement and the Order.

        9.      This Agreement and the Order (and their contents) are not and shall not be used as
an admission of liability, violation, or wrongdoing by DRC, or any of its agents, directors,
officers, attorneys and employees acting on its behalf, solely with respect to actions taken in the
course or their duties with DRC, to any person or entity or on any legal or equitable theory. This
Agreement is made, and the Order shall be entered, without trial or adjudication on any issue of
fact or law as to the claims released in Article III. Nothing in this paragraph reduces DRC’s
obligations under this Agreement and the Order or affects the USTP’s authority to enforce any
rights under the Agreement and Order.

       10.     This Agreement constitutes the entire agreement between the Parties relating to
the subject matter reflected herein and may not be modified except: (i) in writing executed and
delivered by the Parties, or (ii) pursuant to mutually acceptable terms incorporated in the Order.

       11.     This Agreement may be executed by the Parties in one or more counterparts, or
via facsimile or electronically scanned signatures, each of which shall be deemed an original, all
of which together shall constitute one and the same instrument.

        12.     The Parties waive any right to seek reconsideration of or to appeal from the Order
if the Order is entered as submitted in a form mutually acceptable to the Parties.

        13.     If either Party determines that this Agreement or Order has been violated, it shall
notify the other Party of the violation and allow ten (10) days to cure or otherwise purge the
conduct deemed to violate the Agreement or Order before filing any motion or commencing any
proceeding to enforce this Agreement or the Order with the Bankruptcy Court, unless more time
is agreed to in writing by the Parties.

       14.     Where any time period in this Agreement is stated in days, the applicable time
period shall be calculated pursuant to Federal Rule of Bankruptcy Procedure 9006(a)(1).

AGREED TO:

Dated: May 8, 2023                           By:       /s/ Ramona D. Elliott
                                                       Ramona D. Elliott
                                                       Deputy Director/General Counsel
                                                       Executive Office for United States Trustees

Dated: May 8, 2023                           By:       /s/ William K. Harrington
                                                       William K. Harrington
                                                       United States Trustee, Region 2

Dated: May 8, 2023                           By:       /s/ David L. Becker
                                                       David L. Becker
                                                       Counsel
                                                       Donlin, Recano & Company, Inc.

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